
Ultimate Health Products, Inc., as Assignee of Samuel Chaston, Appellant, 
againstAmerican Transit Ins. Co., Respondent.



Appeal from an order of the Civil Court of the City of New York, Queens County (Barry A. Schwartz, J.), entered May 8, 2013. The order denied plaintiff's motion for summary judgment and granted defendant's cross motion for summary judgment dismissing the complaint.




ORDERED that the order is affirmed, with $25 costs.
For the reasons stated in Ultimate Health Prods., Inc. as Assignee of Tamezan Osmali v American Tr. Ins. Co. (___ Misc 3d ___, 2016 NY Slip Op ___ [appeal No. 2013-1479 Q C], decided herewith), the order is affirmed.
Pesce, P.J., Aliotta and Elliot, JJ., concur.
Decision Date: March 15, 2016










